
648 S.E.2d 203 (2007)
In the Matter of A.S. and M.J.W., minor children
appealed by Guardian ad Litem
appealed by Buncombe County Department of Social Services.
No. 140A07.
Supreme Court of North Carolina.
June 27, 2007.
Michael N. Tousey, for Guardian ad Litem.
Michael Casterline, Asheville, for Father.
Matthew J. Middleton, New York, NY, for Buncombe County DSS.
Heidi Stewart, Asheville, for Mother.
Terry P. Young, for Kira McSweeney.
Prior report: ___ N.C.App. ___, 640 S.E.2d 817.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Respondent on the 27th day of March 2007 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Guardian ad Litem, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 27th day of June 2007."
